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                          MINUTES OF THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA v. FALLBROOK PUBLIC
UTILITY DISTRICT                                                     Case No.: 51cv1247-GPC(RBB)
                                                                    Time Spent: 15 min.

HON. RUBEN B. BROOKS                    CT. DEPUTY VICKY LEE                  Rptr.

                                                    Attorneys
                     Plaintiffs                                                 Defendants
                 Counsel listed below                                        Counsel listed below


 PROCEEDINGS:                ☐ In Chambers                      ☐ In Court                  ☒ Telephonic


A telephonic attorneys-only settlement conference was held with the following parties:

1.   Ramona Band of Cahuilla (attorney Curtis G. Berkey)

2.   United States Bureau of Indian Affairs (attorney Douglas Garcia)

3.   Hemet Unified School District (attorney Jeff Hoskinson)

4.   State of California (attorney Marilyn Levin)

5.   County of Riverside (attorney Ronak Patel)

6.   Michael J. Preszler, Watermaster (attorney William Brunick)

7.   Greenwald Estate (attorney Paul Greenwald)

8.   Individual landowners (attorney James Markman)


A telephonic attorneys-only settlement conference is set for January 28, 2020, at 8:00 a.m. Counsel for the
United States is to set up the call.



DATE: November 19, 2019                         IT IS SO ORDERED:
                                                                              Ruben B. Brooks,
                                                                              U.S. Magistrate Judge
cc: Judge Curiel
  All Parties of Record
